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FILED =

MAR 5 2019
UNITED STATES DISTRICT COURT FOR THE

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NORTHERN DISTRICT OF WEST VIRGINIA | er couRT WE

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UNITED STATES OF AMERICA,

 

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Vv. Criminal No. — / q UU / a
BENJAMIN RILEY CAMPBELL, Violations: 18 U.S.C. § 2252A(a)(2)
18 U.S.C. § 2252 A(b)(1)
Defendant. 18 U.S.C. §2252A(a)(5)(B)

18 U.S.C. § 2252A (b)(2)

 

INDICTMENT
The Grand Jury charges that:
COUNT ONE

(Receipt of Child Pornography)

On or between February 22, 2017 and May 15, 2018, at or near Berkeley County, within
the Northern District of West Virginia, and elsewhere, the defendant BENJAMIN RILEY
CAMPBELL, did knowingly receive child pornography, that involves a visual depiction of
sexually explicit conduct, where the production of such visual depiction involves the use of a minor
engaged in sexually explicit conduct, as defined in Title 18, United States Code, Section
2256(8)(A), that had been shipped and transported in and affecting interstate and foreign
commerce by any means, including by computer, in violation of Title 18, United States Code,

SectionS 2252A(a)(2), (b)(1).
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COUNT TWO

(Possession of Child Pornography)

On or about May 14, 2018, in Berkeley County, in the Northern District of West Virginia,
defendant BENJAMIN RILEY CAMPBELL, did knowingly possess matter containing an image
of child pornography, as defined in Title 18, United States Code Section 2256(8), which had been
transported in interstate and foreign commerce by computer, was produced using material that had
been transported in interstate and foreign commerce by computer and that involved a pre-
pubescent minor and a minor who had not attained 12 years of age; in violation of Title 18, United

States Code, Section 2252A(a)(5)(B), (b)(2).
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FORFEITURE ALLEGATION
(Sexual Exploitation of Children)

Pursuant to Title 18, United States Code, Section 2253, the government will seek the
forfeiture of property as part of the sentence imposed in this case; that is, the forfeiture of any
visual depiction described in Section 2251, 2251A, 2252, 2252A, 2252B, or 2260 of Chapter 110
of Title 18, any book, magazine, periodical, film, videotape, or other matter which contains any
such visual depiction, which was produced, transported, mailed, shipped or received in violation
of this chapter, any property, real or personal, used or intended to be used to commit or to promote
the commission of such offense or any property traceable to such property, and any property, real
or personal, constituting or traceable to gross profits or other proceeds obtained from a violation
of Title18, United States Code, Section 2252A, including, but not limited to, Toshiba Laptop, LG

G5 Cellular telephone, Xbox, Xbox One, Wii seized from the defendant.

A True Bill,

/s/
Grand Jury Foreperson

/s/
WILLIAM J. POWELL
United States Attorney

 

Kimberley D. Crockett
Assistant United States Attorney
